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                    EXHIBIT 4
Xfinity Connect Re_ Reminder_ Alexander Stevko has invited you to co...   https://connect.xfinity.com/appsuite/v=7.10.6-38.20240130.130837/prin...

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             JOE IZEN <jizen@comcast.net>                                                                      3/18/2024 11:30 AM

             Re: Reminder: Alexander Stevko has invited you to collaborate on
             Box
             To Alexander Stevko <noreply@box.com>


             Mr. Stevko

             I have accepted your invite, set up this account, but find no files from you to download.

             Joe Izen


                 On 03/18/2024 1:08 AM CDT Alexander Stevko <noreply@box.com> wrote:




                                                                                                                  Sign Up




                                     Alexander Stevko invited you to collaborate on:
                                           Shearer Productions March 2024
                                        Reminder: Alexander Stevko is waiting for your reply.
                                                                    Accept Invite




                          To receive access to your shared documents, and to start securely storing
                          and collaborating on all of your content, please create a free Box account.
                                      This free account comes with 10 GB of storage to:




1 of 2                                                                                                                        3/27/2024, 5:26 PM
Xfinity Connect Re_ Reminder_ Alexander Stevko has invited you to co...   https://connect.xfinity.com/appsuite/v=7.10.6-38.20240130.130837/prin...

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                                             Store your files securely



                                             Collaborate seamlessly



                                             Access and edit files from anywhere




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